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                      IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                             )
                                                      )
                        Plaintiff,                    )
                                                      )
                        v.                            )       Case No. 3:23-MJ-0044
                                                      )
RICHARDSON DANGLEBEN, Jr.,                            )
                                                      )
                        Defendant.                    )
                                                      )

APPEARANCES:

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       FOR THE UNITED STATES OF AMERICA

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OFFICE OF THE FEDERAL PUBLIC DEFENDER
ST. THOMAS, U.S. VIRGIN ISLANDS.
       FOR DEFENDANT RICHARDSON DANGLEBEN, JR.

                                      MEMORANDUM OPINION
MOLLOY, Chief Judge.
        BEFORE THE COURT is Defendant Richardson Dangleben, Jr.’s (“Dangleben”) Motion
to Dismiss, filed on July 14, 2023. (ECF No. 14.)1 Dangleben challenges the constitutionality
of the law criminalizing the possession of a firearm with a removed, obliterated, or altered
serial number. For the reasons stated below, the Court will deny the motion.
                                           I. BACKGROUND
        On July 7, 2023, the Government filed a two-count complaint against Defendant
Richardson Dangleben. (ECF No. 1.) Count One of the Complaint alleges that Dangleben
committed first-degree murder of a Virgin Islands police officer while engaged in the


1 The United States filed an opposition on July 17, 2023. (ECF No. 15.) Defendant Dangleben filed a reply on

August 18, 2023. (ECF No. 21.)
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performance of his official duties in violation of 14 V.I.C. §§ 921, 922(a)(3)(A)(I). See id. Count
Two alleges Dangleben was in possession of a Firearm with a removed, obliterated, or
altered serial number in violation of 18 U.S.C. § 922(k). See id.
        On July 14, 2023, Dangleben filed a motion to dismiss Count Two of the Complaint. In
that motion, Dangleben makes a facial challenge to the charged statute—18 U.S.C. § 922(k)—
arguing that in light of the Supreme Court’s decision in N.Y. State Rifle & Pistol Ass’n, Inc. v.
Bruen, 142 S. Ct. 2111 (2022), Section 922(k) violates the Second Amendment of the
Constitution.
        The Government filed its response on July 17, 2023. (ECF No. 17.) Dangleben then
filed a reply on August 18, 2023. (ECF No. 21.) Thus, the matter being fully briefed is now
properly before the Court.
                                     II. LEGAL STANDARD
        The Second Amendment of the Constitution provides that “A well regulated Militia,
being necessary to the security of a free state, the right of the people to keep and bear Arms,
shall not be infringed.” U.S. Const. amend. II.
        In 2008, the Supreme Court decided the landmark case of District of Columbia v.
Heller, holding that the Second Amendment guarantees an “individual right to possess and
carry weapons in case of confrontation.” 554 U.S. 570, 592 (2008). Although the Court in
Heller recognized the right to carry and possess a weapon for the purposes of self-defense,
the Court also underscored that the right guaranteed under the Second Amendment is not
an “unlimited” one. Id. at 626; see also McDonald v. City of Chicago, 561 U.S. 742, 786 (2010)
(reiterating the limited nature of the right to bear arms). The Heller Court noted that dating
back to “Blackstone through the 19th-century cases, commentators and courts routinely
explained that the right was not a right to keep and carry any weapon whatsoever in any
manner whatsoever and for whatever purpose.” Id. Thus, the Court made clear that at least
some firearm-related regulatory measures could withstand scrutiny under the Second
Amendment. See McDonald, 561 U.S. at 786 (“We made it clear in Heller that our holding did
not cast doubt on such longstanding regulatory measures” on firearms). While Heller
acknowledged that the Second Amendment was subject to certain limitations, for more than
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a decade, the Supreme Court left the lower courts without a test for determining whether a
given firearm regulation passed constitutional muster. See New York State Rifle & Pistol
Association, Inc., v. Bruen, 142 S. Ct. 2111, 2125 (2022).
        In the wake of Heller, federal appellate courts around the country, including the Third
Circuit, ultimately “coalesced around a ‘two-step’ framework for analyzing Second
Amendment challenges that combine[d] history with means-end scrutiny.” Id. Step one
involved a historical analysis wherein the court would determine whether the regulation
imposed a burden on conduct falling within the scope of the Second Amendment’s original
meaning. See Bruen, 142 S. Ct. at 2126; see also United States v. Marzzarella, 614 F.3d 85, 87
(3d Cir. 2010). If the conduct fell beyond the Amendment’s original scope, ‘then the analysis
[could] stop there; the regulated activity [was] categorically unprotected.’” Bruen, 142 S. Ct.
at 2126 (quoting United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012)). If the Court
determined in step one that the historical evidence was “‘inconclusive,’” or suggested that
the conduct was “not categorically unprotected” by the Second Amendment, the court would
then apply “means-end scrutiny” in step two. Id. (emphasis in the original) (quoting Kanter
v. Barr, 919 F.3d 437, 441 (7th Cir. 2019).
        The Bruen Court, however, rejected the Court of Appeals’ two-step approach, finding
that while step one, “which demands a test rooted in the Second Amendment’s text, as
informed by history,” was consistent with Heller, step two’s “means-end scrutiny,” was not.
Id. at 2127. After addressing the former appellate framework, Bruen held that the following
standard now applies to Second Amendment challenges:
        [W]hen the Second Amendment's plain text covers an individual's conduct, the
        Constitution presumptively protects that conduct. To justify its regulation, the
        government may not simply posit that the regulation promotes an important
        interest. Rather, the government must demonstrate that the regulation is
        consistent with this Nation's historical tradition of firearm regulation. Only if
        a firearm regulation is consistent with this Nation's historical tradition may a
        court conclude that the individual's conduct falls outside the Second
        Amendment's “unqualified command.”
Id. at 2126.2


2 The Bruen Court also held “that the Second and Fourteenth Amendments protect an individual’s right to carry

a handgun for self-defense outside the home,” 142 S. Ct. at 2122.
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        Thus, under the new framework, courts still must first determine whether “the
Second Amendment’s plain text covers an individual’s conduct.” Id. However, in light of
Bruen, once the individual proves that his or her conduct is covered under the Second
Amendment, “the Constitution presumptively protects the conduct.” Id. Therefore, unlike
under the Court of Appeals framework, once the individual establishes this presumption in
step one, the burden shifts to the Government, who “must affirmatively prove that its firearm
regulation is part of the historical tradition that delimits the outer bounds of the right to keep
and bear arms.” Bruen, 142 S. Ct. at 2126-27. In other words, if the individual demonstrates
that the regulated or prohibited conduct is within the scope of the Second Amendment, the
only way the Government can prevent the firearm regulation from being found
unconstitutional is if the Government can show that the law “is consistent with this Nation’s
historical tradition of firearm regulation.” Id. at 2126.3
        When conducting the analysis to determine whether a particular firearm regulation
is consistent with the country’s historical tradition, the Bruen Court recognized there often
will not be a historical regulation directly on point, given that certain modern firearm
regulations may have been “unimaginable at the founding.” Id. at 2132.4 Therefore, because
the Second Amendment’s fixed meaning must necessarily apply to new circumstances, the
historical inquiry “will often involve reasoning by analogy.” Id. However, given that
“everything is similar in infinite ways to everything else,” the Bruen Court cautioned courts
to only analogize to historical regulations that are ‘“relevantly similar.”’ Id. (quoting C.
Sunstein, On Analogical Reasoning, 106 Harv. L. Rev. 741, 773 (1993). According to Bruen,
the two central considerations for determining whether regulations can be analogized is


3 Although the Supreme Court in Bruen insisted that the new Second Amendment framework now involves just

one step, see Bruen, 142 S. Ct. at 2117, this Court agrees with the district court in United States v. Avila that the
logic in Bruen “is difficult to collapse into just one step.” Crim No. 22-cr-224, 2023 WL 3305934, at *4 (D. Col.
May 8, 2023). Accordingly, this Court has also adopted the approach that “Bruen’s directive is best understood
as one to eschew means-end analysis in favor of text, history, and tradition.” Avila, 2023 WL 3305934, at *4
(citing Bruen, 142 S. Ct. at 2134-56); see also Range v. Attorney General United States of America, 69 F.4th 96,
101 (3d Cir. 2023) (effectively applying a two-step approach post-Bruen).

4 The Supreme Court disposed of the notion that a given historical regulation must be a “historical twin.” Bruen,

142 S. Ct. at 2133 (emphasis in the original). Instead, the historical regulation must simply be “a well-
established and representative historical analogue.” Id. (emphasis in the original).
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“whether [the] modern and historical regulations impose a comparable burden on the right
of armed self-defense and whether that burden is comparably justified.” Bruen, 142 S. Ct. at
2133.
        In identifying relevant historical regulations and statutes, “the Government can
utilize analogues from a range of historical periods, including English statutes from the late
1600s, colonial-, Revolutionary- and Founding-era sources, and post-ratification practices
specifically from the late 18th and early 19th centuries.” Herrera v. Raoul, 2023 WL 3074799,
at *5 (N.D. Ill. Apr. 25, 2023) (citing Bruen, 142 S. Ct. at 2135-56; Heller, 554 U.S. at 605-626;
United States v. Rahimi, 61 F.4th 443, 455-59 (5th Cir. 2023)).
        Notwithstanding the new framework and the requirements for identifying relevant
historical analogies, Bruen by no means displaced the presumptively lawful regulations
explicitly set out in Heller. See Bruen, 142 S. Ct. at 2162 (noting that the governments remain
free to enact “[1] prohibitions on the possession of firearms by felons and the mentally ill”;
[2] “laws forbidding the carrying of firearms in sensitive places such as schools and
government buildings”; [3] “laws imposing conditions and qualifications on the commercial
sale of arms”; and [4] bans on weapons that are not “in common use.”) (Kavanaugh, J.,
concurring) (citations omitted); see also Heller, 554 U.S. at 626. Consequently, the Bruen
standard is only relevant where the firearm regulation at issue does not fall into one of
Heller’s presumptively lawful categories.
                                               III. DISCUSSION
        A. Party’s Arguments
        Dangleben is raising a facial challenge to 18 U.S.C. § 922(k); the federal regulation
which makes it “unlawful for any person . . . to possess or receive any firearm which has had
the importer's or manufacturer's serial number removed, obliterated, or altered[.]” 18 U.S.C.
§ 922(k); see ECF No. 14 at 1.
        Since Section 922(k)’s prohibition on possessing firearms with an obliterated serial
number is not subject to Heller’s list of presumptively lawful regulations,5 the burden is on


5 In Heller, the Supreme Court explained that its decision did not “cast doubt on longstanding prohibitions on

the possession of firearms by felons and the mentally ill, or laws forbidding the carrying of firearms in sensitive
places such as schools and government buildings, or laws imposing conditions and qualifications on the
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Dangleben to demonstrate that “the Second Amendment’s plain text covers” the regulated
conduct. Bruen, 142 S. Ct. at 2126.
        To establish the presumption, Dangleben argues that Section 922(k) ‘criminalizes the
mere possession of a firearm.’” ECF No. 14. Therefore, because the Second Amendment
guarantees the right to carry a firearm in self-defense, Dangleben claims Section 922(k)
necessarily infringes on that fundamental right. See ECF No. 14 at 3 (quoting United States v.
Price, Crim No. 2:22-cr-00097, 2022 WL 6968457, at *3 (S.D.W.V. Oct. 12, 2022).6
        Given that Dangleben understands Section 922(k) to be within the scope of the
Second Amendment, he concludes that the regulation must be struck down as
unconstitutional because of his belief that Section 922(k) is inconsistent with the history and
tradition of firearm regulation in this country. Dangleben contends that serial numbers were
not used on firearms at the founding and “were not broadly required for all firearms” in the
United States until 1968. He also argues there was no relevantly similar historical analogue
around the time of ratification either. Given that the societal needs addressed by 922(k)—
namely, stopping black market firearms trading and solving crimes—likely existed during
the founding era, Dangleben claims the lack of any analogous historical regulation supports
the theory that 922(k) is inconsistent with the Nation’s history and should therefore be
found unconstitutional.
        The Government disagrees on both fronts. As for whether the Second Amendment
covers the conduct regulated under Section 922(k), the Government contends it does not.
According to the Government, a regulation is only within the scope of the Second



commercial sale of arms.” Heller, 554 U.S. at 626. Because section 922(k) does not fall into one of these above-
mentioned categories, the statute is thus subject to the Second Amendment framework set out in Bruen.

6 To support his theory, Dangleben relied on United States v. Price, 2022 WL 6968457, at *3. In Price, the district

court noted that under section 922(k), a man could legally buy a gun but still be prosecuted simply because he
later removed the gun’s serial number despite having no intention to otherwise place the firearm into the
stream of commerce. Thus, according to the district court in Price, Section 922(k) would infringe on the man’s
right to possess his lawfully purchased gun given that his later obliteration of the serial number would make
the mere possession of the firearm illegal. To bring home the point, the district court took the hypothetical one
step further by noting that if the man’s daughter inherited her father’s deserialized firearm, she too could be
prosecuted under Section 922(k). See id. Therefore, despite otherwise engaging in no unlawful conduct, the
Price court asserted that both the man and his daughter risked becoming felons by their mere possession of the
deserialized firearm.
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Amendment if the regulation infringes on the right to bear arms. The Government, therefore,
argues that since a person is no less capable of defending themselves with a serialized
firearm than with a deserialized firearm, Section 922(k) does not infringe on the Second
Amendment merely by prohibiting the possession of deserialized firearms.
        Additionally, the Government also maintains that the serial number requirement set
out in Section 922(k) cannot amount to an infringement on the right to bear arms because
the regulation is notably less onerous than the “fingerprint, training, and background
restrictions imposed in the ‘shall issue’ licensing regimes that the Supreme Court found
unproblematic” in Bruen. (ECF No. 15.)
        Finally, the Government explains that “the ‘Second Amendment does not protect
those weapons not typically possessed by law-abiding citizens for lawful purposes . . ..”’ Id.
(quoting Heller, 554 U.S. at 625.) Thus, the Government argues that Dangleben cannot
maintain that a prohibition on the possession of a deserialized firearm infringes on the
Second Amendment because a deserialized firearm is not the type of weapon generally
carried by law-abiding citizens for a lawful purpose. The Government concludes that since
there is no lawful purpose for obliterating a serial number, such possession must fall outside
the scope of the Second Amendment.
        The Government goes on to argue that even if the conduct regulated by Section 922(k)
falls within the scope of the Second Amendment, there are still sufficient historical analogues
to obliterated serial number restrictions that render Section 922(k) constitutional. See ECF
No. 15 at 7.
        B. Analysis
        In order to initiate step one of the Bruen framework, the Court must first identify what
specific conduct the statute in question regulates. Therefore, the Court will begin the analysis
by first defining the regulated conduct in Section 922(k). Dangleben attempts to argue that
Section 922(k) regulates “mere possession” of a firearm. (ECF No. 14. at 3.) Thus, because a
plain text reading of the Second Amendment reveals that the right to “bear arms” means a
“right to possess arms for self-defense,” Dangleben claims the regulated conduct in Section
922(k) is covered under the amendment. However, because Section 922(k) only regulates
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the possession of certain kinds of firearms, namely deserialized firearms, Dangleben
impermissibly overgeneralizes the regulated conduct at issue here.
        As the district court in United States v. Reyna explained, the regulated conduct covered
under Section 922(k) cannot be distilled down to “mere possession” of a firearm because to
do so would be “inconsistent with how the Supreme Court evaluates Second Amendment
challenges.” See Crim No. 3:21-cr-41, 2022 WL 17714376, at *4 (N.D. Ind. Dec. 15, 2022)
(noting that in Heller, the Court defined the regulated conduct as “handgun possession in the
home” and in Bruen, the conduct was defined as “publicly carrying a handgun”) (citing Heller,
554 U.S. at 628; Bruen, 142, S. Ct. at 2134). Moreover, not only would using such a general
level of abstraction be inconsistent with Supreme Court precedent, but it would also be
inconsistent with the original meaning of the Second Amendment. See id. The Second
Amendment does not generally protect the right to possess “any weapon” “for whatever
purpose,” but rather specifically protects the right to carry and possess a firearm typically
possessed by law-abiding citizens for the purposes of self-defense. See Heller, 554 U.S. at 625-
26, 635; Bruen, 142, S. Ct. at 2131. Thus, because the Second Amendment is specific as to the
conduct it covers, the regulated conduct must be defined in a similarly precise fashion. Under
Section 922(k), an individual can still possess countless other kinds of firearms, just not one
with the serial number removed, altered, or obliterated. Accordingly, the regulated conduct
at issue here is not the mere possession of any firearm but rather the possession of a firearm
with a removed, obliterated, or altered serial number.
         With the regulated conduct now properly defined, the Court will turn to whether the
conduct regulated under Section 922(k) falls within the scope of the Second Amendment.
Regulated conduct is only within the scope of the Second Amendment if the regulation
“infringe[s]” on “a law-abiding citizen’s right to armed self-defense.” Bruen, 142 S. Ct. at
2133; see also United States v. Libertad, Crim No. 22-cr-644, 2023 WL 4378863, at *3 (S.D.N.Y.
July 7, 2023) (noting that “any number of [firearm] regulations may incidentally, minimally,
or not substantially burden the exercise of a right without being considered to actually
‘infringe’ it.”); United States v. Holton, 3:21-CR-0482, 2022 WL 16701935, at *4 (N.D. Tex.
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Nov. 3, 2022) (finding that Section 922(k) is not within the scope of the Second Amendment
because the regulation does not infringe on the amendment).
          The Court agrees with the Government that Section 922(k) does not infringe on an
individual’s Second Amendment right to bear arms. Section 922(k) merely prohibits a
person from possessing a gun with an altered, removed, or obliterated serial number. See 18
U.S.C. § 922(k). The regulation does not modify or in any way affect the function, utility, or
effectiveness of an individual’s firearm. See Holton, 2022 WL 16701935, at *4 (quoting
Marzzarella, 614 F.3d at 94) (“the presence of a serial number does not impair the use or
functioning of a weapon in any way[.]. . .[A] person is just as capable of defending himself
with a marked firearm as with an unmarked firearm.”). Even the finest marksmen will
remain just as accurate after removing the serial number from his or her firearm because, as
the Third Circuit aptly stated, “[w]ith or without a serial number, a pistol is still a pistol.”
Marzzarella, 614 F.3d at 94. Accordingly, because a person can defend themselves just as
effectively with a serialized or deserialized firearm, there is nothing about Section 922(k)’s
prohibition that limits an individual’s right to bear arms and defend oneself in the case of
confrontation.7 See United States v. Walter, 2023 WL 3020321, at *5 (D.V.I. Apr. 20, 2023)
(noting that even after Bruen, this Court still agreed with the Third Circuit’s step one analysis
finding in Marzzarella that “Section 922(k) d[oes] not bar [an individual] from possessing
any otherwise lawful[ly] marked firearm for the purpose of self-defense.”) (quoting
Marzzarella, 614 F.3d at 94).8


7 The conclusion that 922(k) falls outside the scope of the Second Amendment is also reasonable because it

“would make little sense to categorically protect a class of weapons bearing a certain characteristic wholly
unrelated to their utility.” Marzzarella, 614 F.3d at 94.

8 Although Dangleben seems to contend that it is improper to rely on the Third Circuit’s decision in Marzzarella

for any purpose following Bruen, Dangleben overemphasizes the changes Bruen made to the traditional Second
Amendment analysis. As the undersigned explained earlier in this opinion, Bruen merely eliminated step two—
the means-end scrutiny—portion of the Second Amendment analysis, leaving step one fully intact. See Bruen,
142 S. Ct. at 2127. Thus, it is still entirely proper for courts to rely on portions of pre-Bruen precedent that
involve step one of the Second Amendment analysis. Despite Dangleben’s assertion to the contrary, the section
of Marzzarella that this Court relied on in Walter, and again in this opinion, is part of the Third Circuit’s step-
one analysis, not the means-end scrutiny portion of the analysis. See Walter, 2023 WL 3020321, at * 4-5 (relying
only on Section A, the step one portion of the Marzzarella opinion) (citing Marzzarella, 614 F.3d at 91-94).
Accordingly, the Court may refer to sections of Marzzarella cited to determine whether Section 922(k) infringes
on the rights guaranteed under the Second Amendment.
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        There is also no infringement of an individual’s Second Amendment right simply
because the regulation may prohibit an individual from possessing a specific gun.
‘“[F]irearms of similar make and model are essentially fungible.”’ United States v. Serrano,
21-CR-1590, 2023 WL 2297447, at *11 (S.D. Cal. Jan. 17, 2023) (quoting Holton, 2022 WL
16701935, at *4). Therefore, just like a broken wristwatch, a law-abiding citizen can quickly
and easily replace a deserialized gun with one of the same exact same kind. Since Section
922(k) does not prohibit certain types, calibers, or even functional characteristics of guns,
the only loss a person suffers from losing access to a specific gun is the sentimental value of
a particular gun—a loss not covered under the Second Amendment.
        Even absent the ability for individuals to readily replace a deserialized gun with a
serialized one of the same make and model, the Court strains to comprehend how Section
922(k) imposes any burden on the right to bear arms, let alone a meaningful burden. The
prohibition against removing a serial number from a firearm requires absolutely no action
on the part of the owner. See Holton, 2022 WL 16701935, at *5. Placing a serial number on a
firearm is a requirement imposed on the manufacturer or importer of the firearm, not the
buyer. See 26 U.S.C. § 5842(a); see also 27 C.F.R. § 179.102.9 Accordingly, a person in lawful
possession of such a firearm must simply avoid taking the affirmative act of obliterating the
serial number after the gun is purchased.10 Since neither removing, altering, nor obliterating
the serial number provides any lawful benefit to a person using a firearm, it cannot be
suggested that 922(k)’s restriction burdens law-abiding gun owners right to bear arms. See
Holton, 2022 WL 16701935, at *5.
        The conclusion that Section 922(k) does not infringe on the Second Amendment is
further buttressed by the fact that the prohibition against possessing deserialized firearms


9 26 U.S.C. § 5842 states: “Each manufacturer and importer and anyone making a firearm shall identify each

firearm, other than a destructive device, manufactured, imported, or made by a serial number which may not
be readily removed, obliterated, or altered, the name of the manufacturer, importer, or maker, and such other
identification as the Secretary may by regulations prescribe.”

10 The burden is no more significant in the Price hypothetical where the daughter inherits an already
deserialized firearm rather than purchasing a firearm with a serial number herself. See 2022 WL 6968457, at
*6. In the case of the hypothetical daughter, she can simply reject the obliterated serial number from her father
or potentially rely on the father’s proper registration documentation to have the serial number reinscribed on
the firearm.
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stands in stark contrast to the regulated conduct the Supreme Court has previously held
infringed on the rights guaranteed under the Second Amendment. In Heller, the District of
Columbia imposed an “absolute prohibition of handguns held and used for self-defense in
the home.” 554 U.S. at 636. Similarly, in Bruen, the New York law “broadly prohibit[ed] the
public carry of commonly used firearms for self-defense.” 142 S.C.t. at 2138. Therefore,
unlike the regulations at issue in those Supreme Court cases, which “essentially foreclosed
self-defense with commonly used firearms for most people,” Section 922(k) leaves an
individual free to choose from the exact same types and calibers of firearms that would be
available if Congress had not enacted Section 922(k) at all. Serrano, 2023 WL 2297447, at
*11. The only difference following the enactment of Section 922(k) is that the firearm an
individual possesses must now maintain the serial number inscribed on the firearm at the
time of manufacturing. Thus, as the Government correctly noted, Section 922(k) is more akin
to the ‘“shall issue’ licensing regime,” which involve several regulatory hurdles to possessing
a weapon, but which the Supreme Court indicated did not infringe on the Second
Amendment. Bruen, 142 S. Ct. at 2138 n.9.11
        Moreover, the Second Amendment’s right to keep and bear arms “is not a right to keep
and carry any weapon whatsoever in any manner whatsoever,” and thus does not protect
“those weapons not typically possessed by law-abiding citizens for lawful purposes.” Heller,
554 U.S. at 625-26. As noted above, no lawful purpose is served, or benefit gained by
obliterating a serial number from a firearm. Accordingly, consistent with Heller and Bruen,

11 Dangleben tries to argue in his reply brief that a comparison to the “shall issue” licensing regimes is not

appropriate here because there is a “significant analytical difference” between imposing regulations on
individuals before they obtain a firearm and regulations that restrict what a person can do after obtaining a
firearm. See ECF No. 21 at 4-6. However, Dangleben fails to articulate any meaningful analytical distinction. See
id. Although “shall issue” regulations may be imposed at an earlier time than Section 922(k)’s possession
regulation, that does not suggest the former regulations are somehow less capable of infringing on a person’s
right to bear arms than the latter. In fact, the preliminary requirements involved in the “shall issue” regulatory
regimes have the capacity to prevent an individual from possessing a firearm, of any kind, outside the home.
Brian Enright, The Constitutional "Terra Incognita" of Discretionary Concealed Carry Laws, 2015 U. Ill. L. Rev.
909, 919-20 (2015); see also Michael Rogers, The Bear Necessities: Good Cause Statutes and "Step Zero" of Second
Amendment Analyses, 80 Ohio St. L.J. 159, 171 (2019). Dangleben seems to suggest that because the “shall issue”
regulations restrict an individual’s access to a firearm in a different way than Section 922(k), that is somehow
analytically significant. The Court’s only concern in its Second Amendment analysis, however, is whether the
individual’s right to the firearm has been infringed. It is not pertinent how the alleged infringement occurs.
Accordingly, the Court believes comparisons to the “shall issue” licensing regime are useful for determining
whether the firearm regulation at issue in this case infringes on the Second Amendment.
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the Court finds that firearms with obliterated serial numbers are not typically used by law-
abiding citizens for lawful purposes. See Reyna, 2022 WL 17714376, at *5 (“Guns with
obliterated serial numbers belong to ‘those weapons not typically possessed by law-abiding
citizens for lawful purposes’ so possession of such guns isn't within the Second Amendment's
scope.”) (quoting Heller, 554 U.S. at 625). Therefore, Section 922(k)’s conduct is not
protected by the Second Amendment. See United States v. Tita, No. CR RDB-21-0334, 2022
WL 17850250, at *7 (D. Md. Dec. 22, 2022); Reyna, 2022 WL 17714376, at *5; Holton, 2022
WL 16701935, at *4.
        Any suggestion that deserialized firearms are the types of commonly used weapons
covered under the Second Amendment is antithetical to an originalist understanding of the
amendment. As the Third Circuit explained in Marzzarella, “serial numbers on firearms did
not exist at the time of ratification.” 614 F.3d at 90. Therefore, “[i]t would make little sense
to categorically protect a class of weapons bearing a certain characteristic when, at the time
of ratification, citizens had no concept of that characteristic or how it fit within the right to
bear arms.” Id. at 93-94. Consequently, it cannot be assumed that the framers understood
deserialized firearms to be covered under the Second Amendment.
        Given these various considerations, the Court holds that the regulated conduct under
Section 922(k) falls outside the scope of the Second Amendment.12
        Furthermore, as the Court previously explained in Walter, “even assuming arguendo
that possession of firearms with an obliterated serial number is protected conduct under the
Second Amendment . . ., 922(k) is consistent with this Nation’s historical tradition of firearm
regulations.” 2023 WL 3020321, at *5. Although the advent of serial numbers for firearms



12 Given Dangleben’s criticism of this Court’s decision in Walter, see ECF No. 21, Dangleben seems to believe

that the Court’s analysis up to this point in the opinion has been an impermissible means-end scrutiny analysis.
However, simply considering whether a given regulation is burdensome enough to amount to infringement is
not means-end scrutiny. Means-end scrutiny is an analysis wherein the Court determines whether the
regulation at issue serves a sufficiently important governmental interest that justifies the infringement on the
person’s constitutional right and is no more burdensome than reasonably necessary to further the government
interest. See Marzzarella, 614 F.3d at 97-98 (collecting cases on intermediate scrutiny). In this case, the Court
is not comparing the Government’s interest in enforcing the statute with the burden the statute imposes on
Dangleben’s Second Amendment right. Instead, the Court is simply considering whether the Section 922(k)
infringes on the Second Amendment at all. Therefore, the analysis is appropriate under Bruen.
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did not begin until well after the founding era,13 the Court finds there are sufficient historical
analogues relevantly similar to Section 922(k) to uphold the statute.
        As Dangleben himself indicated, there were effectively two purposes for enacting
Section 922(k). See ECF No. 14. The first purpose was to control the black-market firearms
trade, reduce the number of stolen firearms, and ultimately keep such weapons out of the
hands of dangerous criminals. See Marzzarella, 614 F.3d at 98 (citing Barrett v. United States,
423 U.S. 212, 218 (1976)); Comprehensive Violent Crime Control Act of 1989: Hearing on H.R.
2709 Before the Subcomm. on Crime of the H. Comm. on the Judiciary, 101st Cong., 2d Sess. 143
(Mar. 6, 1990). The second purpose of 922(k) was to assist law enforcement in solving
crimes. See id.
        During the colonial era, there were similar concerns about the black-market firearms
trade and the risk of those firearms entering dangerous hands. Consequently, “colonial
governments substantially controlled the firearms trade.” Teixeria v. Cnty. Of Alamdea, 873
F.3d 670, 685 (9th Cir. 2017).14 In New York, for example, a 1652 law outlawed the illegal
trading of guns by private individuals. See Spitzer, supra note 11 (citing Ordinance of the
Director and Council of New Netherland Against Illegal Trade in Powder, Lead and Guns in
New Netherland by Private Persons, 1652 N.Y. Laws 128). To keep firearms from individuals
the government deemed “dangerous,” certain states also passed laws “making it a crime to
sell, give, or otherwise deliver firearms or ammunition to Indians.” Teixeria, 873 F.3d at
685.15 Moreover, such restrictions were not limited simply to transporting or shipping. Mere

13 See Marzzarella, 614 F.3d at 93 n.11. (noting that the first serial number did not appear on a Winchester

firearm until 1968 and did not appear on Springfield Armory weapons until 1868).

14 In Gun Law History in the United States and Second Amendment Rights, Robert Spitzer notes that “[a]rms and

ammunition trafficking was also a concern as early as the seventeenth century, just as it is today” and, therefore,
“[v]arious registration or taxation schemes sought to address this concern.” Robert J. Spitzer, Gun Law History
in the United States and Second Amendment Rights, 80 L. & Contemp. Probs., 55, 76 (2017).

15 The court in Teixeria cited to following sources for evidentiary support for this proposition: Acts of Assembly,

Mar. 1657-8, in 1 William Waller Hening, The Statutes at Large: Being a Collection of All the Laws of Virginia,
from the First Session of the Legislature, in the Year 1619, at 441 (1823); Assembly Proceedings, February-
March 1638/9, in Proceedings and Acts of the General Assembly of Maryland, January 1637/8—September
1664, at 103 (William Hand Browne, ed., 1883); Records of the Governor and Company of the Massachusetts
Bay in New England 196 (Nathaniel B. Shurtleff, ed., 1853)).
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possession was prohibited to help circumscribe the black market as well. “In colonial
Virginia, [for instance,] straying into an Indian town or more than three miles from an
English Plantation, while possessing more firearms than needed for personal use, was a
crime.” United States v. Bradley, Crim No. 2: 22-cr-00098, 2023 WL 2621352, at *4 (S.D.W.V.
Mar. 23, 2023) (citing Teixeira, 873 F.3d at 685 (citing “Acts of Assembly, Mar. 1675–76” in
The Statutes at Large: Being a Collection of All the Laws of Virginia, from the First Session of
the Legislature, in the Year 1619, at 336–37 (2 William Waller Henning ed., 1823)).16
        In addition to certain restrictions on the firearms trade, there were also registration
and muster laws relevantly similar to 922(k)’s modern-day serial number requirement. The
militia laws mandated that militiamen bring their firearms to “the muster field twice a year
so that militia officers could record which men in the community owned guns.” Robert H.
Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early America: The
Legal Context of the Second Amendment, 25 L. & Hist. Rev. 139, 161 (2007) (citing “An Act for
regulating and governing the Militia of the Commonwealth of Massachusetts,” 1793, in
Massachusetts Session Laws; “An Act more effectually to provide for the National Defense,
by establishing an Uniform Militia throughout the United States” 1792, in Laws of the United
States of America (Philadelphia: Richard Folwell, 1796), 2:92); see also Meg Penrose, A
Return to the States’ Rights Model: Amending the Constitution's Most Controversial and
Misunderstood Provision, 46 Conn. L. Rev. 1463, 1483 (2014) (“[T]he founding generation
endured mandatory gun registration as a basis for ensuring a functional militia, and
routinely disarmed those considered threatening to the established social order.”); Minutes
from a Convention of the Federalist Society: Civil Rights: The Heller Case, 4 NYU J.L. & Liberty
293, 309 (2009) (“The Founders did have gun control. They had mandatory musters.



16 Although the laws were enacted in the early 19th century, the Court notes that in an effort to regulate the

firearms trade, several states required an inspector to mark and stamp certain firearms before they were sold
to ensure that the firearms were compliant and safe to use. See Spitzer, supra note 11, at 74; see also Duke
Center for Firearms Law’s, Repository of Historical Gun Laws (citing Laws of the State of Maine; to Which are
Prefixed the Constitution of the U. States and of Said State, in Two Volumes, with an Appendix Page 685-686;
Image 272-273 (Vol. 2, 1821) available at The Making of Modern Law: Primary Sources) and 1814 Mass. Acts
464, An Act In Addition To An Act, Entitled “An Act To Provide For The Proof Of Fire Arms, Manufactured Within
This Commonwealth,” ch. 192, § 1)).
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Everyone with a gun had to show up and register their firearm. . . . ”). In Colonial Virginia, a
1631 law required “the recording not only of all new arrivals to the colony, but also ‘of arms
and munitions.’” Spitzer, supra note 11, at 76 (citing Virginia Acts of Assembly, Feb. 24,
1631). New Hampshire, New Jersey and Rhode Island went even farther by “authoriz[ing]
door-to-door censuses.” See Bradley, 2023 WL 2621352, at *5 (citing Robert H. Churchill, Gun
Regulation, the Police Power, and the Right to Keep Arms in Early America: The Legal Context
of the Second Amendment, 25 L. & Hist. Rev. 139, 161 (2007).17 These muster and registration
laws, in addition to taxes on personally held firearms,18 allowed the government to roughly
account for and track the location of the firearms in colonial America.
        It is thus plain from the historical record that “founding-era legislatures were
concerned about the illegal trading and movement of firearms, while also concerned about
preventing the sale of firearms to those deemed dangerous—a shared purpose of § 922(k).”
Bradley, 2023 WL 2621352, at *5. However, “before the advent and widespread
implementation of serial numbers, there was no identifying mechanism to track the transfer
of discrete firearms.” Id. Colonial legislatures were consequently forced to devise crude,
broad laws intended to keep track of firearms and prevent such arms from reaching
dangerous hands. See id. Therefore, the historical regulations discussed above can be viewed
as an antecedent to Section 922(k). Thus, in light of these historical analogues, the Court
holds that 922(k) is consistent with this Nation’s tradition of firearm regulations.
        The Court’s decision today is consistent with the overwhelming majority of federal
courts who have addressed the constitutionality of Section 922(k) since Bruen. See Tita, 2022
WL 17850250, at *7 (finding that “the conduct outlined in 18 U.S.C. § 922(k) is not protected
by the Second Amendment because it does not infringe on an individual's right to bear arms
‘in case of confrontation’ or self-defense,” and even if it was protected, “analogous conduct
has been historically regulated such that 18 U.S.C. § 922(k) is constitutional”); Bradley, 2023

17 The Churchill article cited the following sources as support: “Order of the Governor and Council, March 28,

1667” in Records of the Colony of Rhode Island and Providence Plantations (Providence: A. Crawford Greene
and Brother, 1857) (John Russell Bartlett, ed.)) 2:196; “An Act for the better regulating of the Militia of this
Province,” 1747, McCord, Statutes at Large, 9:645; “An Act for the regulating, training, and arraying of the
Militia,” 1781, New Jersey Session Laws.

18 See Holton, 2022 WL 16701935, at *5.
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WL 2621352, at *3-4 (“The Court finds that the plain text of the Second Amendment does not
cover conduct regulated by § 922(k)” and, alternatively, § 922(k) “is constitutional because
there are relevant historical analogues that offer comparable burdens on the right to bear
arms.”); Serrano, 2023 WL 2297447, at *11 (“The Court finds that the Second Amendment’s
plain text does not cover the conduct regulated by § 922(k).”); Reyna, 2022 WL 17714376,
at *1 (holding that “the plain text of the Second Amendment doesn't reach a handgun without
a serial number”); Holton, 2022 WL 16701935, at *4 (finding that “a law requiring serial
numbers on firearms “ does not infringe “on the right to keep and bear arms,” and even if it
did, “the Government has identified relevant historical analogues to meet its burden under
Bruen”).19
        Since the Court’s last decision addressing this issue, there have been only two
additional district court decisions and no appellate decisions addressing the
constitutionality of Section 922(k). Given that those recent decisions do not depart from this
Court’s prior decision in Walter, the Court finds no reason to deviate from that holding today.
See United States v. Avila, Crim. No. 22-cr-224, 2023 WL 3305934, at *5 (D. Col. May 8, 2023);
United States v. Trujillo, Crim No. 1:21-cr-1422, 2023 WL 3114387, at *4 (D.N.M. Apr. 26,
2023). Accordingly, the Court finds 18 U.S.C. § 922(k) is constitutional.
                                             IV. CONCLUSION
        For the foregoing reasons, Defendant Richardson Dangleben’s motions to dismiss,
ECF Nos. 14, is denied. An accompanying Order of even date follows.


Dated: October 3, 2023                                      /s/ Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge




19 The only federal court to find Section 922(k) unconstitutional has been the Southern District of West Virginia

in United States v. Price. See 2022 WL 6968457, at *6.
